     Case 2:13-cr-00008-WFN     ECF No. 1860    filed 03/27/14   PageID.7798 Page 1 of 1




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                           UNITED STATES DISTRICT COURT
 6
                        EASTERN DISTRICT OF WASHINGTON
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 8 UNITED STATES OF AMERICA,                       No. 2:13-CR-008-WFN-34
 9                      Plaintiff,                 ORDER DENYING MOTION
10                                                 TO MODIFY CONDITIONS
     vs.                                           OF RELEASE
11
12 MERCEDES LASHAWN REEVES,
                                                   ☒        Motion Denied
13                                                          (ECF No. 1810)
               Defendant.
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15         At the March 27, 2014, hearing on Defendant’s Motion to Modify, ECF No.
16   1810, Defendant appeared with counsel Jeffrey S. Niesen. The United States was
17   represented by Assistant U.S. Attorney James A. Goeke.
18         For the reasons stated in court, Defendant’s Motion is DENIED. Electronic
19   monitoring shall remain in place for the time being.
20         DATED March 27, 2014.
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22                                   _____________________________________
                                               JOHN T. RODGERS
23                                    UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING MOTION TO MODIFY CONDITIONS OF RELEASE - 1
